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                                                                                  April 11, 2022

  The Honorable Denis R. Hurley
  United States District Court for the
  Eastern District of New York
  100 Federal Plaza
  Central Islip, New York 11722


  Re Request to Amend Reply Memorandum in Support of Motion to Vacate (ECF Doc. 26-
  3), Geis v. Delahunt, 2:20-cv-03834-DRH-JMW


  Dear Judge Hurley:

  I write to request to amend Defendant’s reply memorandum in support of his motion to vacate the
  certificate of default, filed under seal as ECF Document 26-3. The attached three exhibits were
  inadvertently omitted from the Reply when it was filed via ECF earlier this evening.

  I apologize for the any inconvenience and confusion this may cause.


                                                                         Respectfully submitted,


                                                                        /s/ Joseph Z. Amsel, Esq.


  To All Appearing Counsel Via ECF
